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                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF LOUISIANA

        IN RE:           EUGENE BARON SCHWING, JR.                     CASE NO. 18-13335

                         DEBTOR                                        CHAPTER 13

                                                                       SECTION B

                                       NOTICE OF HEARING

          TO ALL PARTIES OF INTEREST:


   NOTICE IS HEREBY GIVEN that a hearing on MOTION FOR AUTHORITY TO USE STATE
   TAX REFUND TO OFFSET FEDERAL TAX DEBT filed by debtor Eugene Baron Schwing, Jr.
   has been set for hearing before Judge Jerry A. Brown, at SECTION B TeleConference Line: 1-
   888-684-8852 Access Code 7058793 on the 5th day of August 2020 at 10:30 a.m. to consider
   said motion.

          NOTICE IS FURTHER GIVEN that any party opposing the above motion must file a
   written objection or response with the Clerk of the Court and must serve the trustee and the
   debtor attorney no later than seven (7) days prior to the scheduled hearing.

          Objections, if any are filed, will be heard on the same day as the above hearing.

                                                               Respectfully Submitted:

                                                             /s/ Steven J. Hunter
                                                             STEVEN J. HUNTER #33194
                                                             Attorney for Debtor(s)
                                                             3500 North Hullen Street
                                                             Suite 241
                                                             Metairie, LA 70002
                                                             Telephone (504)598-5313
                                                             Steven.john.hunter@live.com
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                                     UNITED STATES BANKRUPTCY COURT
                                      EASTERN DISTRICT OF LOUISIANA

                IN RE:            EUGENE BARON SCHWING, JR.                         CASE NO. 18-13335

                                  DEBTOR                                            CHAPTER 13


                                             CERTIFICATE OF SERVICE

                   I, Steven J. Hunter, Attorney for the Debtors, do hereby certify that on June 26, 2020 a

         copy of the MOTION FOR AUTHORITY TO USE STATE TAX REFUND TO OFFSET

         FEDERAL TAX DEBT and NOTICE OF HEARING filed by Debtor was served by electronic

         filing or First Class Mail, properly addressed and postage prepaid, upon the following parties of

         interest and the parties on the Mailing Matrix:

                   Eugene Baron Schwing, Jr. 239 Dilton St New Orleans LA 70123

                   Chapter 13 Trustee Sterling J. Beaulieu, Jr. VIA ECF sjb@ch13no.com

                   Office of U. S. Trustee, VIA ECF USTPRegion5.NR.ECF@usdoj.gov

                                                                             /s/ Steven J. Hunter
                                                                             Steven J. Hunter



                                           Absolute Resolutions Investments LLC           American Express
(p) Republic Finance LLC                   8000 Norman Center Drive                       PO Box 981537
1140 Roma Ave                              Ste 350                                        El Paso, TX 79998
Hammond, LA 70403-5464                     Minneapolis, MN 55437



Atlantic Credit and Finance                Bank of America                                Becket and Lee LLP
PO Box 2083                                PO Box 982284                                  Attorneys/Agent for Creditor
Warren, MI 48090                           El Paso, TX 79998                              POB 3001
                                                                                          Malvern, PA 19355-0701



Best Buy Credit Services                   Calvary Portfolio Services                     Calvary SPV I, LLC
PO Box 78009                               500 Summit Lake Dr                             500 Summit Lake Drive
Phoenix, AZ 85062                          Ste 4A                                         Ste 400
                                           Valhalla, NY 10595                             Valhalla, NY 10595
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Capital One Bank USA NA               Chase/Bank One Card Services               CITIBANK CBNA
10700 Capital One Way                 PO Box 15298                               PO Box 6497
Glen Allen, VA 23060                  Wilmington, DE 19850                       Sioux Falls, SD 57117-6497




CItibank, N.A.                        Citicards CBNA XFER to SHERMAN Originati   Crown Asset Management LLC
701 E 60th St N                       PO Box 6241                                3100 Breckenridge Blvd Ste 725
Sioux Falls, SD 57104                 Sioux Falls, SD 57117-6241                 Duluth, GA 30096




Discover Bank Discover Products Inc   DISCOVER FINANCIAL SVCS LL                 Edward F.Bukaty, III
PO Box 3025                           PO Box 15316                               One Galleria Blvd., Suite 1810
New Albany, OH 43054                  Wilmington, DE 19850-5316                  Metairie, LA 70001-7571




First Premier Bank                    Hannan, Guisti & Hannan L.L.P.             Jodi T Schwing
3820 N Louise Ave                     Attn: Michael D. Hannan                    239 Dilton Street
Sioux Falls, SD 57107                 2201 Ridgelake Dr                          New Orleans, LA 70123-1268
                                      Metairie, LA 70001-2020



Lending Club Corp                     MIDLAND CREDIT MANAGMENT as agent          Portfolio Recovery Associates
71 Stevenson St Ste 300               for MIDLAND FUNDING, LLC                   POB 41067
San Francisco, CA 94105               PO Box 2011                                Norfolk, VA 23541
                                      Warren, MI 48090



Portfolio Recovery Associates LLC *   Quantum 3 Group LLC [n]                    Rausch Sturm
PO Box 12914                          as agent for Crown Asset Management LLC    PO Box 312277
Norfolk, VA 23541                     PO Box 788                                 Enterprise, AL 36331
                                      Kirkland, WA 98083-0788



Republic Finance c/o                  REPUBLIC FINANCE LLC                       Resurgent Capital Systems
Hannan, Giusti & Hannan LLP           282 Tower Rd                               PO Box 10587
2201 Ridgelake Drive                  Ponchatoula, LA 70454                      Greenville, SC 29603-0587
Metairie, LA 70001-2000




Robertson, Anschuta & Schneid, P.L.   Robertson, Anschutz & Schneid P.L.         Sherman Originator III LLC
6409 Congress Avenue, Suite 100       6409 Congress Avenue Suite100              c/o Resurgent Capital
Boca Raton, FL 33487                  Boca Raton, FL 33487                       PO Box 10497
                                                                                 Greenville, SC 29603
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Specialized Loan Servicing       State Farm Bank                   Synchrony Bank
8742 Lucent Blvd                 PO Box 2313                       PO Box 9650005
Suite 300                        Bloomington, IL 61702             Orlando, FL 32896
Highlands Ranch, CO 80129



Synchrony Bank c/o *             Syncrony Bank                     Wells Fargo Home Mortgage XFER
PRA Receivables Management LLC   PO Box 965005                     PO Box 10335
PO Box 41021                     Orlando, FL 32896                 Des Moines, IA 50306-0335
Norfolk, VA 23541
